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                              EXHIBIT “8”
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                                    ARCH INSURANCE COMPANY
                                           (A Missouri Corporation)
 Home Office Address:                                                              Administrative Address:
 3100 Broadway, Suite 511                                                               One Liberty Plaza
 Kansas City, MO 64111                                                                           53rd Floor
                                                                                      New York, NY 10006
                                                                                       Tel: (646) 563-5633



                                                       ®
                           ARCH ESSENTIAL EXCESS POLICY
                   FOLLOW FORM EXCESS LIABILITY INSURANCE POLICY

   THIS POLICY APPLIES ONLY TO CLAIMS FIRST MADE AGAINST THE INSUREDS DURING THE
                                   POLICY PERIOD.

                                             DECLARATIONS
  Policy No.: PCX 9300042-00

  Item 1.    Named Insured & Address:
             VIZIO, INC.
             39 TELSA
             IRVINE, CALIFORNIA 92618
             UNITED STATES
  Item 2.    Policy Period:
             From: December 31, 2013
             To:     June 30, 2015
             12:01 a.m. local time at the address stated in Item 1

  Item 3.     Limit of Liability:          $5,000,000
                                       Excess Of $5,000,000
  Item 4.     Underlying Insurance:

     Primary Policy

  Insurer:                                    Policy No.:             Limit of Liability:   Attachment:

  Navigators Insurance Company                CH13DOL610110IV                $5,000,000


  Underlying
  Excess Policies

  Item 5.     Extended Reporting Period:



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            Additional Period:        12 month(s)
            Additional Premium:      $33,660.00

  Item 6.   Notices to Insurer:
                 Notices Of Claim(s) To Be Sent To:                 All Other Notices To Be Sent To:
                   Arch Insurance Company                          Arch Insurance Company
                 Executive Assurance Claims                     Executive Assurance Underwriting
               10909 Mill Valley Road, Suite 210                  One Liberty Plaza, 53rd Floor
                       P.O. Box 542033                               New York, NY 10006
                      Omaha, NE 68154                                 Fax: (212) 651-6499
                Phone: 877 688-ARCH (2724)
                      Fax: 866 266-3630
              E-mail: Claims@ArchInsurance.com

  Item 7.   Policy Premium:                                                                  $26,928.00
            Premium attributable to Terrorism Risk Insurance:                                     $0.00
            Included In Policy Premium                                X
            In Addition To Policy Premium

  Item 8.   Endorsements:        See attached schedule of endorsements and notices.




  05 DOX0205 00 10 09                                                                          Page 2 of 2
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                             California Signature Page


  IN WITNESS WHEREOF, Arch Insurance Company has caused this policy to be
  executed and attested.




         Michael R. Murphy                                  Patrick Nails
             President                                       Secretary




  05 ML0002 05A (01 13)                                                     Page 1 of 1
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                       SCHEDULE OF FORMS AND ENDORSEMENTS

INSURED: VIZIO, INC.                            TERM: December 31,   to June 30, 2015
                                                2013

POLICY NUMBER: PCX 9300042-00




ENDT. NO.        FORM NO.               TITLE
                 05 DOX0205 00 10 09    ARCH ESSENTIAL EXCESS POLICY DECLARATIONS
                 05 ML0002 05A (01 13   CALIFORNIA SIGNATURE PAGE
                 00 DOX0204 00 10 09    ARCH ESSENTIAL EXCESS POLICY
    1            00 DOX0234 00 12 09    COVERAGE NOT FOLLOWING COVERAGE SECTIONS -
                                        RECOGNIZING DEPLETION (EXCESS)
                 00 MLT0027 00 01 08    TERRORISM COVERAGE DISCLOSURE NOTICE
                 00 ML0065 00 06 07     U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
                                        ASSETS CONTROL ("OFAC")




  00 ML0012 00 09 04                                                        Page 1 of 1
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                                ARCH ESSENTIAL EXCESS®
                FOLLOW FORM EXCESS LIABILITY INSURANCE POLICY
  In consideration of the payment of the premium and in reliance upon the Application, the Insurer
  specified in the Declarations (the “Insurer”) and the Insureds agree as follows:

  1.   INSURING AGREEMENT

       This Policy provides excess coverage after exhaustion of the Underlying Limit. Except as
       otherwise provided in this Policy, coverage under this Policy shall follow form to, and apply in
       conformance with, the provisions of the Primary Policy as of the inception of this Policy.
       Notwithstanding the foregoing, this Policy shall provide no broader coverage than the most
       restrictive policy of Underlying Insurance.

  2.   EXHAUSTION OF THE UNDERLYING LIMIT

       A.    The Underlying Limit shall be exhausted by payment, in legal currency, of covered Loss by
             the insurers of Underlying Insurance, the Insureds, or any DIC Insurer.

       B.    If this Policy becomes primary insurance because of the exhaustion of the Underlying
             Limit, the applicable deductible or retention of the Primary Policy shall apply to each Claim
             handled by the Insurer on a primary insurance basis. No deductible or retention shall apply
             to any Claim handled by the Insurer on an excess insurance basis.

       C.    If any policy of Underlying Insurance grants any coverage subject to a sub-limit of liability,
             this Policy shall not offer such coverage. However, this Policy shall recognize any reduction
             of the Underlying Limit by any payment under such coverage.

  3.   DEFINITIONS

       Whether used in the singular or plural, the following terms shall have the meanings specified
       below:

       A.    “Application”, “Claim”, and “Loss” shall have the same meaning specified for such terms
             in the Primary Policy.

       B.    “DIC Insurer” means any insurer of an insurance policy written specifically excess of this
             Policy that is contractually obligated to drop down and pay covered Loss that is not paid by
             any Underlying Insurance. This Policy does not follow form to the provisions of the policy
             of such DIC Insurer.

       C.    “Insureds” means all persons and entities entitled to coverage under the Primary Policy.

       D.    “Primary Policy” and any “Underlying Excess Policies” are identified in Item 4 of the
             Declarations.

       E.    “Underlying Insurance” means the Primary Policy and any Underlying Excess Policies.

       F.    “Underlying Limit” means the aggregate sum of all limits of liability of all Underlying
             Insurance.

  4.   LIMIT OF LIABILITY

       The Limit of Liability specified in Item 3 of the Declarations is the maximum aggregate amount that
       the Insurer shall pay under this Policy for all covered Loss, including, without limitation, defense
       costs.


  00 DOX0204 00 10 09                                                                          Page 1 of 2
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  5.   DUTIES IN THE EVENT OF A CLAIM

       The Insureds shall give notice to the Insurer of any Claim or potential Claim in conformance with
       the notice provisions of the Primary Policy except that such notice shall be delivered to the
       address specified in Item 6 of the Declarations. The Insurer shall have the right to participate in
       the investigation, settlement and defense of any Claim noticed under this Policy, even if the
       Underlying Limit has not been exhausted. The Insureds shall give the Insurer all information
       and cooperation as the Insurer may reasonably request.

  6.   EXTENDED REPORTING PERIOD

       If the Insureds elect and are granted an extended reporting period or discovery period under all
       Underlying Insurance, then the Insureds shall also be entitled to elect an extended reporting
       period under this Policy. Such extended reporting period shall follow form to, and apply in
       conformance with, the provisions of the Primary Policy provided that the premium and duration of
       such extended reporting period shall be as specified in Item 5 of the Declarations.

  7.   MAINTENANCE OF UNDERLYING INSURANCE

       All Underlying Insurance shall be maintained in full effect. Failure to maintain any Underlying
       Insurance shall: (i) result in the Insureds becoming self-insured for the limit of liability of any such
       Underlying Insurance; and (ii) not relieve the Insurer of any obligation under this Policy.

  8.   CHANGES

       This Policy shall not be changed or assigned in any manner except by written agreement of the
       Insurer.




  00 DOX0204 00 10 09                                                                             Page 2 of 2
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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       COVERAGE NOT FOLLOWING COVERAGE SECTIONS –
                             RECOGNIZING DEPLETION (EXCESS)
  It is agreed that:

  1.     This Policy shall not afford coverage for any Claim within the coverage afforded by Employment
         Practices Liability and Fiduciary Liability of the Primary Policy.

  2.     However, solely for the purpose of determining the amount remaining of the limits of liability of the
         Underlying Insurance, any amounts paid under the Underlying Insurance resulting from any
         Claim within EPL and Fiduciary Liability of the Primary Policy shall be deemed to apply to reduce
         or exhaust the limits of liability of the Underlying Insurance.

  All other terms and conditions of this Policy remain unchanged.

  Endorsement Number: 1
  Policy Number: PCX 9300042-00
  Named Insured: VIZIO, INC.
  This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
  Endorsement Effective Date: December 31, 2013




  00 DOX0234 00 12 09                                                                              Page 1 of 1
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    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                    POLICY PERIOD EXTENSION
  It is agreed that the expiration of the Policy Period set forth in Item 2 of the Declarations is extended
  from 6/30/2015 to 12/1/2015.

  All other terms and conditions of this Policy remain unchanged.

  Endorsement Number: 2
  Policy Number: PCX 9300042-00
  Named Insured: VIZIO, INC.
  This endorsement is effective on the inception date of this Policy unless otherwise stated herein:
  Endorsement Effective Date: June 30, 2015




  00 DOX0128 00 12 09                                                                              Page 1 of 1
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               TERRORISM COVERAGE DISCLOSURE NOTICE
                        TERRORISM COVERAGE PROVIDED UNDER THIS POLICY
The Terrorism Risk Insurance Act of 2002 and amendments thereto (collectively referred to as the “Act”) established a
program within the Department of the Treasury, under which the federal government shares, with the insurance industry,
the risk of loss from future terrorist attacks. An act of terrorism is defined as any act certified by the Secretary of the
Treasury, in concurrence with the Secretary of State and the Attorney General of the United States, to be an act of
terrorism; to be a violent act or an act that is dangerous to human life, property or infrastructure; to have resulted in
damage within the United States, or outside the United States in the case of an air carrier or vessel or the premises of a
United States Mission; and to have been committed by an individual or individuals as part of an effort to coerce the civilian
population of the United States or to influence the policy or affect the conduct of the United States Government by
coercion.

In accordance with the Act, we are required to offer you coverage for losses resulting from an act of terrorism that is
certified under the federal program as an act of terrorism. The policy’s other provisions will still apply to such an act.
Your decision is needed on this question: do you choose to pay the premium for terrorism coverage stated in this offer of
coverage, or do you reject the offer of coverage and not pay the premium? You may accept or reject this offer.

If your policy provides commercial property coverage, in certain states, statutes or regulations may require coverage for
fire following an act of terrorism. In those states, if terrorism results in fire, we will pay for the loss or damage caused by
that fire, subject to all applicable policy provisions including the Limit of Insurance on the affected property. Such
coverage for fire applies only to direct loss or damage by fire to Covered Property. Therefore, for example, the coverage
does not apply to insurance provided under Business Income and/or Extra Expense coverage forms or endorsements that
apply to those coverage forms, or to Legal Liability coverage forms or Leasehold Interest coverage forms.
Your premium will include the additional premium for terrorism as stated in the section of this Notice titled
DISCLOSURE OF PREMIUM.
               DISCLOSURE OF FEDERAL PARTICIPATION IN PAYMENT OF TERRORISM LOSSES
The United States Government, Department of the Treasury, will pay a share of terrorism losses insured under the federal
program. The federal share equals 85% of that portion of the amount of such insured losses that exceeds the
applicable insurer deductible during Program Year 2008 and each Program Year thereafter through 2014.
                                    DISCLOSURE OF CAP ON ANNUAL LIABILITY
If the aggregate insured terrorism losses of all insurers exceed $100,000,000,000 during any Program Year provided in
the Act, the Secretary of the Treasury shall not make any payments for any portion of the amount of such losses that
exceed $100,000,000,000, and if we have met our insurer deductible, we shall not be liable for the payment of any portion
of such losses that exceeds $100,000,000,000.
                                               DISCLOSURE OF PREMIUM
Your premium for terrorism coverage is: $0.00
(This charge/amount is applied to obtain the final premium.)
You may choose to reject the offer by signing the statement below and returning it to us. Your policy will be
changed to exclude the described coverage. If you chose to accept this offer, this form does not have to be returned.
                                                 REJECTION STATEMENT


         I hereby decline to purchase coverage for certified acts of terrorism. I understand that an exclusion of
        certain terrorism losses will be made part of this policy.


                                                                      VIZIO, INC.
       Policyholder/Legal Representative/Applicant’s                                   Named Insured
                        Signature
                                                                      Arch Insurance Company
              Print Name of Policyholder/Legal                                     Insurance Company
                  Representative /Applicant

      Date:                                                           Policy Number: PCX 9300042-00


00 MLT0027 00 01 08                                                                                               Page 1 of 1
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   U.S. TREASURY DEPARTMENT’S OFFICE OF FOREIGN
               ASSETS CONTROL (“OFAC”)
          ADVISORY NOTICE TO POLICYHOLDERS
No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your poli-
cy. You should read your policy and review your Declarations page for complete information on the coverages
you are provided.

This Notice provides information concerning possible impact on your insurance coverage due to directives issued
by OFAC. Please read this Notice carefully.

The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of “national emergency”. OFAC has identified and listed numerous:
      Foreign agents;
      Front organizations;
      Terrorists;
      Terrorist organizations; and
      Narcotics traffickers;
as “Specially Designated Nationals and Blocked Persons”. This list can be located on the United States
Treasury’s web site – http//www.treas.gov/ofac.

In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all pro-
visions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such a
blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC.
Other limitations on the premiums and payments also apply.




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